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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

SBU GROUP LP d/b/a                               §
APOLLO DISTRIBUTORS,                             §
                                                 §
vs.                                              §                 Civil Action No. 4:21-cv-01628
                                                 §                              (JURY)
OHIO CASUALTY INSURANCE                          §
COMPANY                                          §

_____________________________________________________________________________
                            NOTICE OF REMOVAL
______________________________________________________________________________

TO THE HONORABLE JUDGE OF SAID COURT:

        Defendant Ohio Casualty Insurance Company timely files this Notice of Removal pursuant

to 28 U.S.C. § 1441(a), 28 U.S.C. § 1332(a), and 28 U.S.C. §1446(b), removing this action from

the 152nd Judicial District Court of Harris County, Texas to the United States District Court for the

Southern District of Texas, Houston Division, and in support thereof show as follows:

                                       A.      Introduction

        1.     Plaintiff commenced this lawsuit against Defendant in the 152nd Judicial District

 Court of Harris County, Texas by filing its Original Petition on or about March 18, 2021. A true

 and correct copy of the Original Petition is attached hereto as Exhibit “A.” Plaintiff served the

 Original Petition on Defendant Ohio Casualty Insurance Company on April 19, 2021. A true and

 correct copy of Defendant’s Answer to Plaintiffs’ Original Petition, Defendant’s Special

 Exceptions, and Defendant’s Jury Demand filed on May 7, 2021 is attached hereto as Exhibit

 “B.”

        2.     Defendant is filing this Notice of Removal within 30 days of their first receipt of

 Plaintiff’s Original Petition as required by 28 U.S.C. § 1446(b).
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       3.      Plaintiff seeks to recover damages in this lawsuit based on allegations of breach of

 contract, bad faith claims, and violations of the Texas Insurance Code resulting from the alleged

 conduct of Defendant. Plaintiff’s claims arise under a         policy of insurance on Plaintiff’s

 commercial properties issued by Defendant Ohio Casualty Insurance Company. Plaintiff’s

 properties are located in Harris County, Texas, and are alleged to have been damaged during

 wind and hail storms.

B.     Jurisdiction & Removal

       4.      In a removal situation, the burden is on the removing party to establish the existence

of jurisdiction and the propriety of removal. Manguno v. Prudential Property and Cas. Ins. Co.,

276 F.3d 720, 723 (5th Cir. 2002). This Court has jurisdiction in this case pursuant to 28 U.S.C.

§ 1332, in that there is complete diversity of citizenship between the parties and the amount in

controversy exceeds $75,000.00. Accordingly, statutory authority for the removal of this matter

is conferred by 28 U.S.C. §§ 1441 and 1446.

       5.      Complete diversity under 28 U.S.C. § 1332 exists in this case. Plaintiff is located

in the State of Texas. Ohio Security Insurance Company is a company organized under the laws

of the State of New Hampshire and the principal place of business is in Boston, Massachusetts.

As such, for diversity purposes, Ohio Casualty is a citizen of Massachusetts. §1332(c)(1).

       6.      In addition, the amount in controversy meets the minimum jurisdictional

requirements under 28 U.S.C. § 1332. Here, Plaintiff’s Original Petition states that they are

seeking monetary relief of over $250,000.00 (See Paragraph 7). Therefore, the amount in

controversy exceeds $75,000.00.

       7.      Venue is proper in this district and division under 28 U.S.C. § 1441(a) because the

state court where the action has been pending is located in this district and division.

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       8.       Contemporaneous with the filing of this Notice of Removal, Defendant is filing a

Notice of Filing Notice of Removal with the Clerk of Court for the 152nd Judicial District Court of

Harris County, Texas pursuant to 28 U.S.C. § 1446(d).

       9.       Attached hereto are all documents required by 28 U.S.C. § 1446(a).

       10.      Defendant demanded a jury in the state court action. Defendant also requests a trial

by jury pursuant to Rule 81(c)(3)(A), Federal Rules of Civil Procedure.

       11.      All fees required by law in connection with this Notice have been tendered and paid

by Defendant.

       WHEREFORE, Defendant Ohio Casualty Insurance Company hereby removes the above-

captioned matter now pending in the 152nd Judicial District Court of Harris County, Texas to the

United States District Court for the Southern District of Texas, Houston Division.

                                              Respectfully submitted,

                                              SHEEHY, WARE & PAPPAS, P.C.

                                         By: __/s/ J. Mark Kressenberg____________________
                                              J. Mark Kressenberg, Attorney in Charge
                                              Fed. Adm. No. 7793
                                              Texas State Bar No. 11725900
                                              Dawn A. Moore
                                              Fed. Adm. No. 558181
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                                              ATTORNEYS FOR THE DEFENDANT
                                              OHIO CASUALTY INSURANCE COMPANY




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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above foregoing instrument has been
forwarded via e-filing in accordance with the Federal Rules of Civil Procedure on this the 17th day
of May, 2021 to the following counsel of record:

          Eric B. Dick, LL.M.
          Dick Law Firm, PLLC
          3701 Brookwoods Drive
          Houston ,TX 77092
          Email: eric@dicklawfirm.com



                                             /s/ J. Mark Kressenberg____________________
                                             J. Mark Kressenberg




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